Case 3:18-cv-00919-MMH-J_T Document 1

Filed 07/27/18

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE Te
RICHARD A. TRIOLO a
CASE NO:: he
Plaintiff, . _ a
vs. 3: Bre q [A-J-3u UT
UNITED STATES OF AMERICA,
Defendant.
/
COMPLAINT

COMES NOW the Plaintiff Richard A. Triolo, by and through his undersigned
attorneys. and sues the Defendant. the United States of America, acting by and through

the acts of its agents and employees, and the Plaintiff alleges as follows:

1.

This action is brought pursuant to the Federal Tort Claims Act, 28 U.S.C.
Sec. 1346(b), et seq.
2. On or about November 3, 2017, more than six months before this action was
instituted, the claims set forth herein were presented to the United States Postal Service,
in writing. and a Form 95 submitted. all in accordance with the provisions of 28 USC §

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2675. Copies of the Form 95 are attached as composite Exhibit “A.”
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The United States Postal Service denied Plaintiff's Form 95 Claim for

injury and damages. The denial letter dated May 22. 2018 is attached hereto as Exhibit
“RB”.

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4. All conditions precedent to the filing of this action have been performed.
occurred, or otherwise waived.

Venue

5. Pursuant to 28 U.S.C. § 1402(b), venue is proper in the Middle District of
Florida, Jacksonville Division. in that the acts and omissions giving rise to this Complaint
occurred in Jacksonville, Duval County. Florida.

Parties

6. Plaintiff. Richard A. Triolo (hereinafter “TRIOLO”) is a resident of the
State of Florida.

7. At all times relevant hereto. including February 11. 2017, non-party.
Marsha Victoria Rentz (hereinafter. “RENTZ). was an agent or employee of the United
States Postal Service.

8. The United States Postal Services is an independent establishment of the
executive branch of government of the United States of America.

General Allegations

9. At all times relevant hereto, including February 11, 2017, RENTZ was an
employee of the United States Postal Service

10. At all times relevant hereto. including February 11.2017. the United States
Postal Service was the owner of the GMC Sportvan (V.I.N.: 1GBCSIOA7N 2909410)

(hereinafter, the “MAIL TRUCK”).
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11. Atall times relevant hereto, including February 11, 2017, TRIOLO was the
owner an operator of the 2016 Ford Mustang (V.IN.:
C&08937B0759A409785)(hereinafter, the “MUSTANG’”).

12. At approximately 1:08 p.m. on February 11, 2017, TRIOLO was operating
the MUSTANG and driving in southerly direction on Old St. Augustine Road, in
Jacksonville, Florida. At the intersection of Old St. Augustine Road and Loretto Road.
TRIOLO brought the MUSTANG to a stop due to traffic conditions. At that time and
place, the MAIL TRUCK. while being operated by RENTZ. struck the rear of the
MUSTANG.

13. At the time of the collision, RENTZ was acting in the course and scope of
her employment with the United States Postal Service.

Negligence

14, Defendant, United States of America, acting through is employee, RENTZ.
owed TRIOLO a duty to operate the MAIL TRUCK in a reasonably safe manner.

15. | Defendant, United States of America. acting through its employee, RENTZ.
breached its duty of reasonable care owed to TRIOLO in one or more of the follower
manners:

a. operating the MAIL TRUCK at an excessive speed for the
condition;

b. failing to keep the MAIL TRUCK a safe distance from the
MUSTANG:

c. failing to keep a proper lookout while operating the MAIL TRUCK;
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d. failing to maintain control of the MAIL TRUCK: and
e. causing the front of the MAIL TRUCK to strike the rear of the
MUSTANG without justification.

13. Asa direct and proximate result of the Defendant’s breach of its duty of
reasonable care. TRIOLO has suffered serious bodily injury, including permanent injuries
within a reasonable degree of medical probability, and resulting pain and suffering.
permanent disability, disfigurement, mental anguish. aggravation of pre-existing injury. loss
of capacity for the enjoyment of life. medical expenses. other expenses directly related to
the injuries suffered, rehabilitation care, nursing care and treatment. lost wages and loss of
earning capacity. The Plaintiff's losses are permanent and continuing and the Plaintiff will
continue to suffer the losses in the future.

WHEREFORE, Plaintiff Richard A. Triolo prays for the entry of a judgment in his

favor and against Defendant, United States of America. for damages. including economic
and non-economic damages, interest, costs, and all other relief as this Court may deem just

and proper, together with the costs of this action.
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